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LNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

ln re: )
)
ROBERT EDWARD HAMMETT )
SSN: XXX-XX-2842 )
)
) CASE NO. l?-lSSOT-KHT
SUZANNE AI\`DREA HAMMETT )
SSN: XXX-XX-2514 ) CHAPTER 7
)
Debtor(s). )
SETTLEN[ENT AGREEMENT

Jef&ey Weinrnan, Chapter 7 Trustee (the “Trustee”), Robert Edward Hammett and
Suzanne Andrea Hammett (“Debtor” or “Debtors”) (collectivel'y “Parties”), stipulate and agree as
follows:

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a. Debtor Suzanne Andrea Hammett and Robert Edward Hammett filed for relief
under Chapter 7 of the Bankruptcy Code on or about June 13, 2017 (the “Petition Date”). Trustee
is the duly appointed Chapter 7 Trustee for the Debtors’ Bankruptcy Estate (“Estate’).

b. On October 4, 2017, Debtors amended their Schedules A/B & C to list a previously
undisclosed asset described as “Motor Vehicle Accident 5/' 15/ 15 (owed to debtor)” With an
estimated value of $500,000 at Docket No. 77 (“Personal lnjury Claim).

c. On or about July 24, 2018, Debtor Suzanne Andrea Hammett Was awarded a verdict
by jury in her favor and against Blake Bajcar, Who was insured by Allstate Fire and Casualty
lnsurance Company, in the amount of` $20,43 l .83 plus pre-judgement interest in the amount of 9%
per-annum for the Personal Injury Claim. In addition, Debtor Suzanne Andrea Hammett is entitled
to taxable costs and post-judgment interest (collectively the judgment, plus costs and pre and post
judgment interest is referred to as “Da:mages”).

d. On September 25, 2018, Trustee initiated Adversary Proceeding l?-l$§O?-KHT
against Allstate Fire and Casualty lnsurance Company to demand turnover of What he identified
as the non-exempt portion of` the proceeds in the amount of $ l 5,306. 13 (“Non-Exempt Darnages”).

e. On 0ct0ber 12, 2018, Debtors filed a Motion to Compel the Trustee to abandon
both the Damages and Non-exempt damages Trustee filed a response. Both Debtors and Trustee
assert that they have valid claims for their respective positions, however, to avoid costly and timely
litigation, Without admission, they have decided to enter into an agreement to settle as stated herein.

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NOW THEREFOR_E, in consideration of the foregoing and the agreements, promises and
covenants set forth below, and for other good and valuable consideration the receipt and
sufficiency of which is hereby aclcnowledged, THE PARTI_ES HEREBY STIPULATE AND
AGREE AS FOLLOWS:

l. ln order to resolve their dispute without the additional costs and uncertainty of
litigation, the Parties have entered into this written Settlement Agreement.
Within ten (10) days of the date this Settlement Agreement is last executed by the Parties, the
Trustee will file this Motion to Approve Settlement Agreement. The terms herein are not
binding until an Order has entered approving this Settlement Agreement. lf` the Bankruptcy
Court does not approve the settlement in its entirety then this settlement is null and void.

2. Once this Settlement Agreernent is approved by the Bankruptcy Court, the Parties
agree that the Debtors’ personal injury counsel, Bachus and Shanker, shall have the ability to
request and receive payment of the Damages from Allstate Fire and Casualty Insurance Company
be made directly to Bachus and Shanker. Allstate hereby agrees to pay to Sue Hammett the amount
of $37,072.83, plus post-judgment interest of $6.57 per day until paid._Upon receipt of payment
of Damages from Allstate Fire and Casualty Insurance Company, Bachus and Shanker shall
distribute $6,000.00 to the Trustee, payable to (“Payment”):

lefh'ey Weinman, Trustee
730 17“‘ street suite 240
Denver, CO 80202

3. Within 15 days of the receipt and successful negotiation of the Payment, Trustee
will file a satisfaction of judgment in Adversary Proceeding 17-15507-KHT and Withdraw his
response to the Debtors Motion to Abandon. Upon the withdrawal of the Debtors Motion to
Abandon, by this agreement any and all proceeds from Debtor Suzanne Hammett’s personal injury
claim against Blake Bajcar are hereby abandoned as property of the Bankruptcy Estate. Suzanne
Hamrnett and Allstate will not have any further obligations to the Bankruptcy Estate nor to the
Chapter 7 Trustee, Jeff`rey Weinman. Allstate Fire and Casualty Insurance Company may pay the
proceeds of Debtor’s personal injury claim B'ee of` any constraints from this bankruptcy case.
Bachus and Schanker may disburse its attorney fee and costs to itself nom the proceeds of Debtor’s
personal injury claim free of any constraints from this bankruptcy

4. This Settlement Agreernent may not be altered, amended, or modified in any
respect, except in Writing duly executed by the parties.

5. This Settlement Agreement shall inure to the benefit ot`, and be binding upon, the
respective agents, predecessors, successors, and assigns of the parties, the creditors and the estate.

6. This Settlement Agreement shall be governed by and construed in accordance with

the laws and rules applicable in the United States Bankruptcy Court for the District of Colorado.
Where state or substantive laws other than the Bankruptcy Code control, this Settlement

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Agreement shall be governed by the substantive laws of the State of Colorado, without regard to
its choice of law rules.

7. Any controversies regarding this Settlement Agreement shall be resolved in the
United States Bankruptcy Court for the District of Colorado. Any action relating to, based upon,
or arising from a breach of this Settlement Agreement shall be brought only in the United States
Bankruptcy Court or the United States District Court for the District of Colorado, which shall
retain jurisdiction over the subject matter and parties for this purpose

8. The undersigned represent and Warrant they have full power and authority to enter
into this Settlement Agreement and to bind the parties for which they have executed this Settlement
Agreement

9. The parties hereby affirm and acknowledge they have read and reviewed the
Settlement Agreement, and they fully understand and appreciate the meaning of each of` its terms,
and it is a voluntary, full and final compromise of the claims and actions referred to above.

lO. This Settlement Agreement may be executed in counterparts with the same force
and effect as though all signatures appeared on one original document Facsirnile signatures are
binding and enforceable as if` they were originals.

11. The terms of this Settlement Agreement are conditioned upon, in part, entry of an
Order by the Bankruptcy Court approving this agreement Counsel for the Trustee shall promptly
file an application with the Bankruptcy Court for approval of this Settlement Agreement and serve
notice required under Federal Rule of Bankruptcy Procedure 9019.

12. ln the event litigation arises to enforce any of the provisions of this Settlement
Agreement, the prevailing party shall recover reasonable attorneys’ fees and costs nom the non-
prevailing party or parties Each party is to pay his/hers own fees, costs, and expenses in
connection with this Settlement Agreement and all transactions contemplated hereby, save and
except in the enforcement of event of any provision of this Agreement, where in such case the
prevailing party shall be entitled to reasonable attorney fees and costs.

13. If any clause or provision of` this Settlement is invalid or unenforceable under

present or iilture laws effective during the term of this Settlement, then and in that event, it is the
intention of the parties hereto the remainder of this Settlement shall not be affected thereby.

lN WITNESS THEREOF, Trustee Debtors have caused this Settlement Agreement to be
executed as of the date first written below.

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Jefn‘ey Weinman, Ch. 7 Trustee

 

Ch. 7 Bankr. Trustee in Date
Case No. 17-15507-KHT
Robert Hammett
YlC\/QWISW /-ZZ~ /CY
By: Robert Harnmett Date

 

Suz c Hammett

t v / -22- golf
By: S nne Harnmett Date

 

Allstate Fire and Casualty Insurance Company

 

By: Date

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Jeff`rey Weinman, Ch. 7 Trustee

 

 

Ch. 7 Banl<r. Trustee in Date
Case No. 17-15507-KHT

Robert Hammett

By: Robert Hammett Date

Suzanne Hammett

 

By: Suzanne Hammett Date

Allstate Fire and Casualty Insurance Company

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Robert Hammett

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By: Robert Hammett

Date

 

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Date

Allstate Fire and Casualty Insurance Company

 

By: Date

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